Case 2:25-cv-01918-SPG-SK        Document 17        Filed 03/27/25   Page 1 of 20 Page ID
                                        #:85
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                          UNITED STATES DISTRICT COURT
  9
                        CENTRAL DISTRICT OF CALIFORNIA
  10
  11 PRNRX PROFESSIONAL                          Case No. 2:25−cv−01918−SPG−SK
     PHARMACY INC.
  12
          Plaintiff(s),                          STANDING ORDER FOR
  13                                             NEWLY ASSIGNED CIVIL
                      v.                         CASES
  14
     GOODRX, INC., et al.
  15
          Defendant(s).
  16
  17
  18
  19
  20         READ THIS ORDER CAREFULLY. IT CONTROLS THIS CASE

  21        AND DIFFERS IN SOME RESPECTS FROM THE LOCAL RULES.

  22        This case has been assigned to United States District Judge Sherilyn Peace

  23   Garnett.1 Both the Court and all counsel bear responsibility for the progress of

  24   litigation in this Court. “Counsel,” as used in this Order, includes attorneys and

  25   parties who have elected to appear without an attorney and are representing

  26   themselves in this civil litigation (hereinafter referred to as “Pro Se Litigants”).

  27   ____________________
       1   Judge Garnett periodically updates this Order so make sure you are reviewing
  28
       the latest copy of the Order.

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Case 2:25-cv-01918-SPG-SK        Document 17        Filed 03/27/25    Page 2 of 20 Page ID
                                        #:86
  1    To secure the just, speedy, and inexpensive determination of every action, all

  2    counsel are ordered to comply with this Order, the Federal Rules of Civil

  3    Procedure, and the Local Rules of the Central District of California. See Local

  4    Rules 1-3 and 83-2.2.3.

  5    A.     GENERAL REQUIREMENTS

  6          1.     Service of Order. Counsel for the plaintiff must immediately serve

  7    this Order on all parties, including any new parties to the action. If this case was

  8    removed from state court, the defendant that removed the case must serve this

  9    Order on all other parties.

  10         2.     Pro Se Litigants. Only individuals may represent themselves. A

  11   corporation or other entity must be represented by counsel. If counsel seeks to

  12   withdraw, counsel must advise the entity of the dire consequences of failing to

  13   obtain substitute counsel before seeking withdrawal−i.e., a plaintiff entity’s case

  14   will be dismissed or a defendant entity will default. See Local Rule 83-2.3.4. The

  15   following links may be helpful to Pro Se Litigants: (a) General information on

  16   how parties may represent themselves in civil cases in the Central District of

  17   California can be found at https://www.prose.cacd.uscourts.gov/; (b) Local Civil

  18   Rules for the Central District of California can be found at

  19   https://www.cacd.uscourts.gov/court-procedures/local-rules; (c) Federal Rules of

  20   Civil Procedure can be found at https://www.law.cornell.edu/rules/frcp.

  21         3.     Presence of Lead Trial Counsel. Lead trial counsel shall attend all

  22   proceedings set by this Court, including scheduling, settlement, and pretrial

  23   conferences, as well as trials. Lead trial counsel must be prepared to address and

  24   resolve all matters within the scope of the proceeding. Only one attorney for a

  25   party may be designated as lead trial counsel unless otherwise permitted by the

  26   Court. If a second lead trial counsel is permitted by the Court, both counsels must

  27   attend the pretrial conference. To provide more experience to the next generation

  28   of practitioners, the Court encourages lead trial counsel to permit junior counsel to


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Case 2:25-cv-01918-SPG-SK        Document 17        Filed 03/27/25   Page 3 of 20 Page ID
                                        #:87
  1    fully participate in Court proceedings, including to argue motions and to examine

  2    witnesses at trial.

  3          4.       Counsel Calendar Conflicts. If any counsel discovers a calendar

  4    conflict with a scheduled appearance, counsel must inform opposing counsel and

  5    the Court’s courtroom deputy (CRD) via Chambers email at

  6    SPG_chambers@cacd.uscourts.gov as soon as possible and not later than three (3)

  7    days before the scheduled appearance. Counsel should attempt to agree on a new

  8    date to accommodate the calendar conflict. Counsel must propose a new date by

  9    Stipulation and Proposed Order. A “Notice of Unavailability” has no legal effect

  10   and should not be filed. The Court expects that counsel will conduct themselves

  11   professionally and will not deliberately schedule any proceeding when counsel are

  12   unavailable.

  13         5.       Communications with Chambers. Neither counsel nor a party shall

  14   initiate contact with the Court or its Chambers staff by telephone, or by any other

  15   improper ex parte means. Counsel may contact the CRD with appropriate inquiries.

  16   Contacting the CRD to inquire about the status of a ruling or to continue a

  17   proceeding is not appropriate. The preferred method of communication with the

  18   CRD is by email at SPG_chambers@cacd.uscourts.gov. Counsel must copy all

  19   parties on any such email. To facilitate communication with the CRD, counsel

  20   should list their email addresses along with their telephone numbers on all papers.

  21         6.       Civility. All counsel who appear in this action must immediately

  22   review and comply with the Civility and Professionalism Guidelines, which can

  23   be found on the Court’s website at https://www.cacd.uscourts.gov/attorneys/

  24   admissions/civility-and-professionalismguidelines. The Court expects everyone in

  25   the courtroom to treat each other with dignity and respect. At a minimum, the

  26   Court expects the following from counsel: (1) Being punctual and prepared for all

  27   court appearance; (2) being civil and respectful in all oral and written

  28   communications with the Court and other parties; (3) being civil and respectful to


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Case 2:25-cv-01918-SPG-SK         Document 17        Filed 03/27/25   Page 4 of 20 Page ID
                                         #:88
  1    court personnel, including the Court Room Deputy (CRD), court reporters, law

  2    clerks, and marshals; (4) refraining from interrupting any person in the courtroom

  3    when that person is speaking; (5) refraining from making gestures, facial

  4    expressions, or audible comments indicating approval or disapproval of testimony

  5    or argument; and (6) being considerate of the time constraints and pressures on the

  6    Court and court staff inherent in their efforts to administer justice.

  7    B.     PLEADINGS REQUIREMENTS

  8          1.      Service of the Complaint. The Plaintiff(s) shall promptly serve the

  9    Complaint in accordance with Fed. R. Civ. P. 4 and file the proofs of service

  10   pursuant to Fed R. Civ. P. 4(l). Any Defendant(s), including “DOE” or fictitiously-

  11   named Defendant(s), not served within 90 days after the case is filed shall be

  12   dismissed pursuant to Fed. R. Civ. P. 4(m) and by operation of this Order without

  13   further notice, unless plaintiff requests and justifies the need for additional time in

  14   the joint report and the Court grants an extension.

  15         2.      Removed Actions. Any Answers filed in state court must be refiled

  16   in this Court as a supplement to the Notice of Removal. Any pending motions must

  17   be re-noticed in accordance with Local Rule 7. If an action removed to this Court

  18   contains a form pleading, i.e., a pleading in which boxes are checked, the party or

  19   parties that filed the form pleading must file in this Court within thirty (30) days of

  20   receipt of the Notice of Removal a revised pleading that complies with Fed. R. Civ.

  21   P. 7, 7.1, 8, 9, 10 and 11. An amended complaint filed within 30 days after

  22   removal to replace a form complaint pursuant to this instruction shall be deemed

  23   an amended complaint with “the court’s leave” pursuant to Fed. R. Civ. P. 15(a)(2).

  24         3.      Status of Fictitiously Named Defendants.

  25                 (a).   Plaintiff must identify and serve any fictitiously named or “Doe”

  26   defendant(s) before the deadline set forth in the Court’s Order Setting Scheduling

  27   Conference.

  28                 (b).   Before moving to substitute a defendant for a Doe defendant,


                                                 4
Case 2:25-cv-01918-SPG-SK       Document 17         Filed 03/27/25   Page 5 of 20 Page ID
                                       #:89
  1    plaintiff must seek the consent of counsel for all defendants, including counsel for

  2    a represented Doe defendant. If denied consent, plaintiff must file a regularly

  3    noticed motion. In diversity cases, plaintiff’s motion must address whether the

  4    addition of the newly named party destroys diversity jurisdiction. See 28 U.S.C.

  5    § 1447(c), (e).

  6    C.     FILING REQUIREMENTS

  7          1.     Electronic Filing. Pursuant to Fed. R. Civ. P. 5(d)(3), Local Rule

  8    5-4, and General Order 10-07, counsel shall electronically file (“e-file”) all filings.

  9    Items that do not require the Court’s signature shall be e-filed in pdf format.

  10   Proposed orders shall be e-filed in pdf format as an attachment to the main

  11   documents. Pro Se Litigants may submit documents for filing through the Court’s

  12   Electronic Document Submission System (EDSS) instead of mailing or bringing

  13   documents to the Clerk’s Office. Only internet access and an email address are

  14   required. Documents are submitted in PDF format through an online portal on the

  15   Court’s website. To access EDSS and for additional information, visit the Court’s

  16   website at https://apps.cacd.uscourts.gov/edss.

  17         2.     Documents with Declarations, Exhibits, and other Attachments.

  18   If a filed or lodged document has declarations, exhibits, or other attachments, each

  19   attachment must be filed as a separately docketed attachment to the main docket

  20   entry with a description of the attachment (e.g., Dkt. 29-1 Smith Declaration, 29-2

  21   Ex. 1 - License Agreement, 29-3 Request for Judicial Notice). The Court may

  22   strike or decline to consider motions, stipulations, or other documents with

  23   attachments that are not filed in accordance with this Order.

  24         3.     Proposed Orders.

  25                (a)   Proposed Orders Must be Lodged and Served. Each party

  26   filing or opposing a motion or seeking the determination of any matter shall serve

  27   and lodge a proposed order setting forth the relief or action sought and a brief

  28   statement of the rationale for the decision with appropriate citations.


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Case 2:25-cv-01918-SPG-SK         Document 17       Filed 03/27/25   Page 6 of 20 Page ID
                                         #:90
  1                (b)   Use Applicable Templates. Use the “Proposed Order” template

  2    located on the Court’s website under “Orders & Additional Documents” at the

  3    bottom of the webpage. (https://www.cacd.uscourts.gov/honorable-sherilyn-peace-.

  4    garnett). Failure to do so may result in the striking of the request. Proposed orders

  5    must be on pleading paper. Proposed orders should NOT contain any of the

  6    following: (1) attorney names, addresses, etc. on the caption page; (2) a footer with

  7    the document name or other information; or (3) a watermark or designation of the

  8    firm name. Proposed orders should be formatted in the same fashion as motions.

  9    See infra paragraph G.4.

  10               (c)   Email Proposed Orders to Chambers. The Court enforces

  11   strict compliance with Local Rule 5-4.4.2, which instructs: “After a document

  12   requiring a judge’s signature has been lodged in accordance with L.R. 5-4.4.1 . . . ,

  13   a Microsoft Word copy of the proposed document, along with a PDF copy of the

  14   the electronically filed main document, shall be e-mailed to the assigned judge’s

  15   generic chambers e-mail address using the CM/ECF System,” namely,

  16   SPG_chambers@cacd.uscourts.gov. The Court will not consider a stipulation,

  17   ex parte application, or other request for relief until a compliant proposed order

  18   is received by email. If the proposed order is based on a stipulation or an ex parte

  19   application, counsel must email both the order and the stipulation or ex parte

  20   application. Otherwise, accompanying documents (such as motions) should not be

  21   emailed to Chambers.

  22         4.     Mandatory Chambers Copies.

  23               (a)   Motions, Pleadings, and Trial Documents. The parties must

  24   provide one (1) Mandatory Chambers Copy only of Motions for Summary

  25   Judgment filings. Please do not send paper copies of any other documents unless

  26   requested by the Court.

  27               (b)   Delivery Location, Timeliness, and Form. All Mandatory

  28   Chambers Copies must be delivered to Judge Garnett’s chambers copy box, which


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Case 2:25-cv-01918-SPG-SK       Document 17         Filed 03/27/25   Page 7 of 20 Page ID
                                       #:91
  1    is located outside of the Clerk’s Office on the fourth floor of the courthouse.

  2    Mandatory Chambers Copies must be delivered no later than 12:00 p.m. (noon)

  3    the following business day after the document is electronically filed. “Mandatory

  4    chambers copies must be printed from CM/ECF, and must include: (1) the

  5    CM/ECF-generated header (consisting of the case number, document control

  6    number, date of filing, page number, etc.) at the top of each page; and (2) the NEF

  7    [notice of electronic filing] (see L.R. 5-3.2.1) as the last page of the document.”

  8    Local Rule 5-4.5 (emphasis added). Mandatory Chambers Copies need not be

  9    bluebacked. For security reasons, do not leave chambers copies in envelopes or

  10   folders.

  11                (c)   Mandatory Chambers Copy Exhibits. All exhibits should be

  12   separated by a tab divider on the right or bottom of the document. If the evidence

  13   exceeds 50 pages, the Mandatory Chambers Copy must: (1) include a table of

  14   contents; and (2) be in a tabbed binder with each exhibit separated by a tab divider

  15   on the right or the bottom. All documents in the binder must be three-hole punched,

  16   preferably with a larger hole size (13/32”), rather than the standard hole size

  17   (9/32”), to facilitate ease of review. If the evidence exceeds 200 pages, the table of

  18   contents and evidence must be placed in a Slant D-Ring binder. Binders should be

  19   no larger than 4 inches. Binders must have both a cover sheet and a spine label that

  20   includes the case name, case number, and a description of the contents.

  21         5.     Filings Under Seal.

  22                (a)   Local Rule 79-5. Local Rule 79-5 governs applications to file

  23   under seal. Parties must comply with all sections of Local Rule 79-5. There is a

  24   “strong presumption of access to court records” in civil cases. Foltz v. State Farm

  25   Mut. Auto. Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003). For each document or

  26   other type of information a party seeks to file under seal, the party must identify

  27   and discuss the factual and/or legal justification, see (c) below, that establishes

  28   “good cause” or “compelling reasons” for the document’s protection. Kamakana v.


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Case 2:25-cv-01918-SPG-SK        Document 17        Filed 03/27/25   Page 8 of 20 Page ID
                                        #:92
  1    City and Cnty. of Honolulu, 447 F.3d 1172, 1179-80 (9th Cir. 2006).

  2                 (b)   Redacted Version and Unredacted Version. Documents that

  3    are not confidential or privileged in their entirety should not be filed under seal

  4    if the confidential portions can be redacted and filed separately with a reasonable

  5    amount of effort. The parties should file an unredacted version of the document

  6    under seal, and a redacted version for public viewing, omitting only the portions

  7    that the Court has ordered may be filed under seal.

  8                 (c)   Justification. Sealing must be justified for each individual

  9    confidential matter; blanket claims of confidentiality will result in the application

  10   to seal being denied. Counsel is strongly encouraged to consider carefully whether

  11   sealing or redaction is required for a given piece of evidence or argument. An

  12   application to seal that includes clearly meritless requests to seal or redact

  13   documents may be denied in its entirety. The parties must also meet and confer

  14   before filing an application to seal.

  15   D.     CONSENT TO MAGISTRATE FOR ENTIRE CIVIL CASE

  16         The parties may consent to have a Magistrate Judge preside over the entire

  17   civil case, including trial, rather than just discovery. One benefit to giving such

  18   consent is that the parties almost always will be able to proceed to trial sooner than

  19   on a District Court Judge’s calendar. Additionally, the parties are free to select

  20   from among all Magistrate Judges available for this purpose, not just the Magistrate

  21   Judge assigned to the parties’ case. The Magistrate Judges have experience and

  22   expertise in a variety of areas, including patent and trademark litigation. If the

  23   parties agree to consent to proceed before a Magistrate Judge, the parties should

  24   consult the Central District website for the list of available Magistrate Judges and

  25   should submit the appropriate consent form.

  26   E.     DISCOVERY

  27         1.     Magistrate Judge Referral for All Discovery Matters. All

  28   discovery matters are referred to the assigned United States Magistrate Judge. The


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Case 2:25-cv-01918-SPG-SK       Document 17         Filed 03/27/25   Page 9 of 20 Page ID
                                       #:93
  1    Magistrate Judge’s initials follow the Judge’s initials next to the case number. All

  2    documents relating to discovery matters must include the words “DISCOVERY

  3    MATTER” in the caption to ensure proper routing. Counsel should not deliver

  4    chambers copies of discovery matters. Counsel must follow the Magistrate Judge’s

  5    procedures for scheduling matters for hearing. These procedures are stated on each

  6    Magistrate Judge’s webpage.

  7          2.     Limited District Court Review of Discovery Matters. The decision

  8    of the Magistrate Judge on all discovery matters shall be final, subject to limited

  9    review requiring a showing that the decision is clearly erroneous or contrary to

  10   law. See 28 U.S.C. § 636(b)(1)(A). Any motion for review of a Magistrate Judge’s

  11   decision must be noticed before the District Court Judge within fourteen (14) days

  12   of service of the Magistrate Judge’s written ruling, or within fourteen (14) days of

  13   an oral ruling that the Magistrate Judge states will not be followed by a written

  14   ruling. The motion must specify which portions of the ruling are clearly erroneous

  15   or contrary to law, and the claim must be supported by points and authorities.

  16   Counsel shall provide the Magistrate Judge chambers copies of the moving papers

  17   and responses.

  18         3.     Timing of Discovery. Unless there is a likelihood that, upon motion

  19   by a party, the court would order that discovery be stayed, the parties should begin

  20   to propound discovery before the Scheduling Conference. The parties must comply

  21   fully with the letter and spirit of Fed. R. Civ. P. 26(a) and produce discovery

  22   promptly. At the Scheduling Conference, the court will impose firm deadlines

  23   governing the completion of discovery.

  24         4.     Discovery Protective Orders. Proposed protective orders for

  25   discovery must be submitted to the assigned Magistrate Judge. Such orders should

  26   not purport to allow, without further order of the Court, the filing under seal of

  27   pleadings or documents filed in connection with a dispositive motion, a class

  28   certification motion, or trial before the Court. The existence of a protective order


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Case 2:25-cv-01918-SPG-SK        Document 17 Filed 03/27/25         Page 10 of 20 Page ID
                                         #:94
  1    does not alone justify the filing of pleadings or other documents under seal, in

  2    whole or in part.

  3    F.       SCHEDULING CONFERENCE

  4             Pursuant to Fed. R. Civ. P.16(b), the Court will issue an Order Setting

  5    Scheduling Conference. The parties are required to strictly comply with Fed. R.

  6    Civ. P. 16 and 26, as well as this Court’s Orders.

  7    G.       MOTIONS − GENERAL REQUIREMENTS APPLICABLE TO ALL

  8             MOTIONS

  9             1.    Local Rule 7-3 Pre-Filing Meet and Confer Requirement.

  10                  (a)   Scope. The Court strictly enforces Local Rule 7-3, which

  11   requires counsel to engage in a prefiling conference “to discuss thoroughly . . . the

  12   substance of the contemplated motion and any potential resolution.” This

  13   requirement applies in all cases, including those with Pro Se Litigants. This Court

  14   requires parties through Counsel to meet and confer about any potentially disputed

  15   matter (except those identified in Local Rules 7-3 and 16-12) before presenting it

  16   to the Court, including requests to continue any matter, applications to file under

  17   seal, and other filings seeking a court order. The purpose of meeting and conferring

  18   is to attempt to obviate the need for a motion and thus avoid unnecessary Court

  19   intervention. If the parties are unable to fully resolve the dispute, they shall attempt

  20   to narrow the scope of contested issues. Counsel must meet and confer in good

  21   faith.

  22                  (b)   Method. Parties must meet and confer either by videoconference

  23   or in person. Email correspondence is insufficient.

  24                  (c)   Compliance Statement Required. The moving party must

  25   include in the signed notice of motion a truthful representation of full compliance

  26   with Local Rule 7-3, stating that the parties “thoroughly discussed the substance

  27   and potential resolution of the filed motion [by videoconference or in person].”

  28                  (d)   Non-Compliance. If an opposing party refuses to participate


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Case 2:25-cv-01918-SPG-SK      Document 17 Filed 03/27/25          Page 11 of 20 Page ID
                                       #:95
  1    in good faith, the moving party shall explain the refusal in detail. Failure by any

  2    party to comply in good faith with the “meet and confer” requirement may result in

  3    an order to show cause re: sanctions−including, as appropriate, striking or denying

  4    the motion, deeming the motion unopposed, and/or awarding monetary sanctions.

  5          2.     Scheduling Motions Hearings. Motions must be filed in accordance

  6    with Local Rules 6 and 7. Judge Garnett hears civil motions on Wednesdays

  7    beginning at 1:30 p.m. It is not necessary to clear a hearing date with the CRD

  8    before filing a motion. Immediately before filing the motion, parties must check

  9    the closed motion dates column located on the right side of Judge Garnett’s

  10   Procedures and Schedules Page on the Court’s website to make sure the hearing

  11   date has not been closed. The closed date column is typically updated on a weekly

  12   and sometimes daily basis. If a motion is noticed for a date that is not available,

  13   the Court may strike or reset the motion.

  14         3.     Briefing Schedule. To allow Chambers enough time to prepare, the

  15   parties must adhere to the briefing schedule set forth in Local Rule 7-9 and 7-10

  16   for all motions, except Rule 56 motions. For Rule 56 motions, the parties should

  17   review and comply with Judge Garnett’s Standing Order For Motions for Summary

  18   Judgment. When scheduling motion hearing dates, professional courtesy dictates

  19   that the parties should accommodate each other’s schedules, including vacation and

  20   holiday schedules, whenever possible.

  21         4.     Length and Format of Motion Papers. Memoranda of points and

  22   authorities in support of or in opposition to motions shall not exceed twenty-five

  23   (25) pages. Replies shall not exceed fifteen (15) pages. Only rarely and for good

  24   cause shown will the Court grant an application to extend these page limitations.

  25   Pursuant to Local Rule 11-3.1.1, either a proportionally spaced or monospaced

  26   face may be used. Typeface shall comply with Local Rule 11-3.1.1. Times New

  27   Roman font must be no less than 14 point; Courier font must be no less than 12

  28   point. Footnotes shall be in the same font and the same size as the body of the


                                               11
Case 2:25-cv-01918-SPG-SK        Document 17 Filed 03/27/25           Page 12 of 20 Page ID
                                         #:96
  1    memorandum. Counsel shall adhere to Local Rule 5-4.3 with respect to the

  2    conversion of all documents to .pdf format so that when a document is

  3    electronically filed, it is in proper size and is .pdf searchable. Further, all

  4    documents shall be filed in a format so that text can be selected, copied, and pasted

  5    directly from the document. See Local Rule 5-4.3.1.

  6          5.      Citations to Authority. Statutes should be cited in accordance with

  7    the Bluebook. Citations that support a statement in the main text must be included

  8    in the main text, not in footnotes.

  9                 (a)   Case citations. Case citations must identify both the case cited

  10   and the specific page referenced. Parties should not use string cites without a good

  11   reason. When using string cites, a party should include a parenthetical explanation

  12   for each cited case. When citing to legal databases (which is not encouraged), cite

  13   to Westlaw whenever possible.

  14                (b)   Statutory references. Statutory references should identify with

  15   specificity the sections and subsections referenced. Citations should be to the

  16   relevant official statutory code (e.g., the U.S. Code) and should not merely

  17   reference the popular name of an act.

  18                (c)   Citations to Other Sources. Citations to treatises, manuals, and

  19   other materials should include the volume, section, and relevant pages. Attach

  20   copies if these materials are not accessible on Westlaw, especially for historical

  21   materials (e.g., older legislative history).

  22   H.     MOTIONS − SPECIFIC REQUIREMENTS

  23         1.      Motions Pursuant to Federal Rule of Civil Procedure 12. Many

  24   motions to dismiss or strike can be avoided if the parties confer in good faith as

  25   required by Local Rule 7-3, especially for perceived defects in a complaint, answer,

  26   or counterclaim that can be corrected by amendment. See Polich v. Burlington

  27   N., Inc., 942 F.2d 1467, 1472 (9th Cir. 1991) (noting that where a motion to

  28   dismiss is granted, a district court should grant leave to amend unless it is clear


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Case 2:25-cv-01918-SPG-SK       Document 17 Filed 03/27/25          Page 13 of 20 Page ID
                                        #:97
  1    the complaint cannot be saved by amendment). Moreover, a party has the right to

  2    amend the complaint “once as a matter of course no later than (A) 21 days after

  3    serving it, or (B) if the pleading is one to which a responsive pleading is required,

  4    21 days after service of a responsive pleading or 21 days after service of a motion

  5    under Rule 12(b), (e), or (f), whichever is earlier.” Fed. R. Civ. P. 15(a). Further,

  6    the Federal Rules of Civil Procedure provide that leave to amend should be

  7    “freely given when justice so requires.” Fed. R. Civ. P. 15(a). Indeed, the Ninth

  8    Circuit requires that this policy favoring amendment be applied with “extreme

  9    liberality.” Morongo Band of Mission Indians v. Rose, 893 F.2d 1074, 1079

  10   (9th Cir. 1990). Consequently, parties should carefully consider and weigh an

  11   opponent’s contentions as to the deficiencies in a pleading to determine if an

  12   amendment would cure the defects. The moving party, in turn, should agree

  13   to any amendment that would cure the defect.

  14         2.     Motions to Amend. In addition to the requirements of Local Rule

  15   15-1, all motions to amend pleadings shall: (1) state the effect of the amendment;

  16   (2) be serially numbered to differentiate the amendment from previous

  17   amendments; and (3) state the page and line number(s) and wording of any

  18   proposed change or addition of material. Counsel shall electronically file a

  19   “Notice of Lodging” attaching the proposed amended pleading as a document

  20   separate from the motion, as well as a “redlined” version of the proposed amended

  21   pleading identifying all additions and deletions of material as an appendix to the

  22   moving papers.

  23         3.     Motions and Stipulations to Continue. Continuances are granted

  24   only on a showing of good cause. Requests for continuances must be made

  25   sufficiently in advance of the date to be continued and by motion or stipulation,

  26   along with a proposed order. Motions and stipulations must be accompanied by a

  27   detailed declaration setting forth the specific reasons for the requested continuance.

  28   The declaration also should state whether there have been any previous requests for


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Case 2:25-cv-01918-SPG-SK       Document 17 Filed 03/27/25          Page 14 of 20 Page ID
                                        #:98
  1    continuances; whether these requests were granted or denied by the Court; what

  2    efforts were made to meet the existing deadline; and what, if any, prejudice would

  3    result if the request is denied. Stipulations extending dates set by this Court are not

  4    effective unless approved by the Court. Continuances will not be granted routinely.

  5          4.     Motions In Limine. Motions in limine shall be noticed for hearing

  6    not later than four (4) weeks before the Final Pretrial Conference date. Unless leave

  7    of Court is granted, each party is limited to five motions in limine

  8          5.     Daubert Motions. Daubert motions shall be noticed for hearing

  9    not later than (8) weeks before the Final Pretrial Conference date.

  10         6.     Motions for Class Certification. If this action is a putative class

  11   action, the parties are to act diligently and begin discovery immediately, so that

  12   the motion for class certification can be filed expeditiously. This Court requires an

  13   extended briefing schedule for motions for class certification. Parties are advised

  14   to refer to the Court’s Scheduling Order for additional guidance as to filing and

  15   timing of motions for class certification.

  16         7.     Motions Pursuant to Federal Rule of Civil Procedure 56

  17                (Summary Judgment/Summary Adjudication Motions).

  18        For the requirements specific to Rule 56 motions, the parties shall refer to the

  19   Court’s Standing Order For Motions for Summary Judgment located on the Court’s

  20   website. (https://www.cacd.uscourts.gov/honorable-sherilyn-peace-garnett). The

  21   parties are expected to comply with all the Court’s requirements.

  22         8.     Motions for Attorneys’ Fees. Motions for attorneys’ fees shall be

  23   electronically filed and set for hearing according to Local Rule 6-1 and this Order.

  24   Any motion or request for attorneys’ fees shall attach two summaries, in table

  25   form, of the hours worked by and billing rate of each attorney with title (e.g.,

  26   partner, counsel, associate, etc.). The first table shall include a summary of the

  27   hours worked by each attorney, organized by task (e.g., discovery, motion to

  28   dismiss, motion for summary judgment). The second table shall include a summary


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Case 2:25-cv-01918-SPG-SK      Document 17 Filed 03/27/25          Page 15 of 20 Page ID
                                       #:99
  1    of the hours worked by each attorney, organized by attorney. Both tables shall list

  2    all the tasks on which the attorney worked, the hours worked on each task, and the

  3    hourly rate of each attorney. If the hourly rate charged by any individual attorney

  4    changed while the action was ongoing, the party shall provide separate calculations

  5    for the total number of hours the attorney spent in connection with each task at

  6    each hourly rate. All tables shall be attached to the motion and electronically filed.

  7    The courtesy copies of the tables shall be prepared in Excel, have all restrictions

  8    removed so the spreadsheets can be edited, and be emailed to the Court’s chambers

  9    email address at SPG_Chambers@cacd.uscourts.gov.

  10         9.     Motions to Reconsider. Motions for reconsideration must meet

  11   the requirements for reconsideration set forth in the Federal Rules of Civil

  12   Procedure and/or Local Rules. A motion for reconsideration will “not be granted,

  13   absent highly unusual circumstances, unless the district court is presented with

  14   newly discovered evidence, committed clear error, or if there is an intervening

  15   change in the controlling law.” See Marlyn Nutraceuticals, Inc. v. Mucos

  16   Pharma GmbH & Co., 571 F.3d 873, 880 (9th Cir. 2009) (quoting 389

  17   Orange St. Partners v. Arnold, 179 F.3d 656, 665 (9th Cir. 1999)); see also

  18   C.D. Cal. Civ. L.R. 7-18 (listing other requirements). Motions for reconsideration

  19   should not be filed to rehash arguments or “raise arguments or present evidence

  20   for the first time when they could reasonably have been raised earlier in the

  21   litigation.” Id. (quoting Kona Enters., Inc. v. Estate of Bishop, 229 F.3d 877,

  22   890 (9th Cir. 2000)). Filing motions for reconsideration that do not adhere to the

  23   above requirements may result in sanctions being imposed.

  24         10.     PLRA Exhaustion Motions. The issue of exhaustion under the

  25   Prison Litigation Reform Act (PLRA) must be raised at the beginning of the

  26   litigation. Albino v. Baca, 747 F.3d 1162, 1170 (9th Cir. 2014). A party seeking to

  27   obtain a judicial determination of any material fact dispute precluding summary

  28   judgment on the exhaustion issue must file before this Court a request for a hearing


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Case 2:25-cv-01918-SPG-SK       Document 17 Filed 03/27/25          Page 16 of 20 Page ID
                                       #:100
  1    within fourteen (14) days of the filing of the order denying summary judgment.

  2    The failure to file a timely request may be construed as a waiver of the exhaustion

  3    issue.

  4    I.       HEARINGS

  5             1.   Submission Without Oral Argument. Pursuant to Fed. R. Civ. P. 78

  6    and Local Rule 7-15, the Court may deem a matter appropriate for decision without

  7    oral argument. If the Court does so, it will notify the parties before the hearing.

  8             2.   Oral Argument Time Limits. If oral argument is permitted, the

  9    parties will have a ten (1) minutes each for oral argument, unless the Court states

  10   otherwise. If the Court believes that the matter warrants less or more time, it will

  11   advise counsel at the hearing.

  12            3.   Remote Appearances. Remote appearances are disfavored absent

  13   good cause shown in a declaration.

  14            4.   Telephonic Hearings. The Court seldom permits telephonic

  15   appearances. The Court strongly prefers counsel to appear in person for motion

  16   hearings and pretrial and settlement conferences. If exceptional circumstances

  17   exist, counsel may file an application to appear telephonically detailing such

  18   circumstance.

  19            5.   Settlement. Counsel must notify the Court at least two weeks

  20   before the scheduled hearing if the parties are conducting settlement discussions

  21   that may render the motion moot and must notify the Court immediately if a

  22   settlement is reached. A belated notice of settlement wastes scarce judicial

  23   resources.

  24   J.       EX PARTE APPLICATIONS (INCLUDING TEMPORARY

  25            RESTRAINING ORDERS AND APPLICATIONS FOR INJUNCTIVE

  26            RELIEF).

  27            1.   Ex Parte Applications Generally. Applications seeking relief on an

  28   ex parte basis− either requesting not to give proper notice to an opposing party


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Case 2:25-cv-01918-SPG-SK        Document 17 Filed 03/27/25           Page 17 of 20 Page ID
                                        #:101
  1    and/or requesting an expedited briefing schedule−are highly disfavored. This is

  2    especially true when the ex parte relief is sought due to (1) the applicant’s lack of

  3    diligence; (2) a crisis of the applicant’s own making; (3) an applicant’s

  4    unwillingness to work through issues with the opposing party; or (4) an

  5    applicant’s last minute or half-hearted attempt to meet and confer. Even when the

  6    opposing party is given the opportunity to respond, such ex parte motions “are

  7    inherently unfair,” “pose a threat to the administration of justice,” “debilitate the

  8    adversary system,” and force both the opposing counsel and the Court “to drop all

  9    other work to respond on short notice.” Mission Power Engineering Co. v.

  10   Continential Casualty Co., 883 F. Supp. 488, 490 (C.D. Cal. 1995). As such,

  11   ex parte applications are strongly discouraged, and frivolous ex parte motions may

  12   result in sanctions being imposed on the moving party.

  13         If, on the rare occasion and with a party’s demonstration of due diligence

  14   during the entire period leading up to the deadline, compliance with a Court

  15   deadline is not possible, a party may file an ex parte application and propose a

  16   hearing date. The moving party must support the application with facts showing

  17   that its “cause will be irreparably prejudiced if the underlying motion is heard

  18   according to regular noticed motion procedures” and “that the moving party is

  19   without fault in creating the crisis that requires ex parte relief, or that the crisis

  20   occurred as a result of excusable neglect.” Id at 492. Merely reciting these

  21   requirements is not sufficient. Further, the moving party should not assume that

  22   an unopposed ex parte application will be granted; and a last−minute application

  23   (or stipulation) that is denied will not serve to relieve a party of an underlying

  24   obligation (e.g., a soon-to-expire deadline).

  25         2.      Ex Parte Applications for TROs. An ex parte application for a

  26   temporary restraining order or preliminary injunction under Fed. R. Civ. P. 65,

  27   seeks an “extraordinary remedy that may only be awarded upon a clear showing

  28   that the plaintiff is entitled to such relief.” Winter v. NRDC, Inc., 555 U.S. 7, 22


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Case 2:25-cv-01918-SPG-SK       Document 17 Filed 03/27/25           Page 18 of 20 Page ID
                                       #:102
  1    (2008) (citation omitted). Such applications must comply with Local Rule 7-19

  2    (and Local Rule 65 for temporary restraining orders and preliminary injunctions).

  3    The moving party must serve the opposing party by email, fax, or personal service,

  4    and notify that party that opposing papers must be filed not later than forty-eight

  5    (48) hours following service or by 3:00 p.m. on the first court day after the service,

  6    whichever is later, or certify pursuant to Rule 65 and Local Rule 65-1 the efforts

  7    made to give notice and reasons why it should not be required under the

  8    circumstances. The opposing party should advise the CRD as soon as possible

  9    whether it intends to oppose the ex parte application. For TROs, the parties must

  10   provide Mandatory Chambers Copies of TRO-related documents on the same day

  11   they are filed. The application will not be considered until a Mandatory Chambers

  12   Copy has been provided. Unless the application presents a true emergency, the

  13   Court generally will not rule on the application for relief for at least forty-eight (48)

  14   hours (or two court days) after the party subject to the requested order has been

  15   served.

  16   K.     OTHER MATTERS

  17         1.     Class Actions.

  18        If this action is a putative class action, the parties are to act diligently and

  19   begin discovery immediately so that the motion for class certification can be filed

  20   expeditiously. A motion for class certification must be filed not later than 120 days

  21   from the date initially set for the scheduling conference, unless the Court orders

  22   otherwise.

  23         2.     ERISA Cases (Benefits Claims).

  24         The Court will hear motions to determine the standard of review, whether

  25   discovery will be permitted, and the scope of the administrative record. Counsel are

  26   discouraged from filing motions for summary judgment or partial summary

  27   judgment on any other issue. If they choose to do so, they must distinguish Kearney

  28   v. Standard Insurance Co., 175 F.3d 1084, 1093-95 (9th Cir. 1999) (en banc) in the


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Case 2:25-cv-01918-SPG-SK        Document 17 Filed 03/27/25            Page 19 of 20 Page ID
                                        #:103
  1    moving papers and explain why summary judgment is not precluded. The parties

  2    may receive a scheduling conference order as a matter of course. Because the

  3    ordinary pretrial and trial schedule does not apply to these ERISA cases, the parties

  4    need only submit a joint status report identifying any special issues that should be

  5    considered. The parties should proceed with the preparation of the administrative

  6    record and briefing without delay upon service of the complaint. A court trial,

  7    ordinarily limited to oral argument on the administrative record, will be scheduled

  8    within six (6) months from the filing of the original complaint, unless good cause

  9    for additional time is shown in the status report. If the Court concludes that the

  10   decision would not benefit from oral argument, the matter may be submitted for

  11   decision on the papers.

  12         3.      Bankruptcy Appeals. Counsel must comply with the Notice

  13   Regarding Appeal from Bankruptcy Court issued at the time the appeal is filed

  14   in the district court. The matter is deemed under submission on the filing of the

  15   appellant’s reply brief. The Court considers bankruptcy appeals on the papers

  16   and usually does not set these matters for hearing.

  17   L.     CONSEQUENCES FOR NONCOMPLIANCE WITH THIS ORDER

  18         If, without satisfactory explanation, counsel fail to file the required Joint Rule

  19   26(f) Report or the required pretrial documents, fail to appear at any scheduled

  20   proceeding, or otherwise fail to comply with the Court’s Orders or rules, the

  21   Court shall take any action it deems appropriate, including: (i) dismissal of the case

  22   for failure to prosecute, if the failure occurs on the part of the plaintiff; (ii) striking

  23   the answer resulting in default if such failure occurs on the part of the defendant;

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Case 2:25-cv-01918-SPG-SK      Document 17 Filed 03/27/25        Page 20 of 20 Page ID
                                      #:104
  1     and/or (iii) imposing monetary sanctions against the offending party and counsel.

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  3         IT IS SO ORDERED.

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  6    Dated: March 27, 2025
  7                                             ______________________________________
                                                HON. SHERILYN PEACE GARNETT
  8                                             UNITED STATES DISTRICT JUDGE

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